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                       IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

BRIANNA BOE, et al.,                         )
                                             )
Plaintiffs,                                  )
                                             )
v.                                           )                  No. 2:22-cv-184-LCB-CWB
                                             )
STEVE MARSHALL, et al.,                      )
                                             )
       Defendants.                           )


                        MOTION FOR ADMISSION PRO HAC VICE
         Pursuant to Local Rule 83.1(b), Wendy Padilla-Madden, of Global Business Advisors,

 LLC, 249 Lyon Lane, Birmingham, AL 35211, a member in good standing of the Alabama Bar,

 and of the United States District Court for the Middle District of Alabama, hereby moves this

 Honorable Court for entry of an order admitting Jason B. Torchinsky of Holtzman Vogel Baran

 Torchinsky & Josefiak PLLC to practice before the Court pro hac vice on behalf of the National

 Republican Redistricting Trust in the above-captioned matter.

       1.       Jason B. Torchinsky is an attorney who lives in the Commonwealth of Virginia.

He is a partner at Holtzman Vogel Baran Torchinsky & Josefiak PLLC, 2300 N Street NW, Suite

643A, Washington, DC 20037. His phone number is (202) 737-8808, and his email address is

jtorchinsky@holtzmanvogel.com.

       2.       Jason B. Torchinsky’s Certificate of Good Standing from the U.S. District Court

for the District of Columbia is attached hereto as Exhibit A.

       3.       Jason B. Torchinsky is a member in good standing and eligible to practice before

every court to which he is admitted.

         WHEREFORE, Movant respectfully requests that this Honorable Court enter an order
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granting Jason B. Torchinsky leave to appear pro hac vice on behalf of the National Republican

Redistricting Trust.

               Respectfully submitted this 28th day of September 2022.



                                                /s/ Wendy Padilla-Madden
                                                Wendy Ann Padilla-Madden
                                                Bar #: 5307W71M
                                                GLOBAL BUSINESS ADVISORS, LLC
                                                249 Lyon Lane
                                                Birmingham, AL 35211
                                                (205) 558-8633 (telephone)
                                                (205) 732-7036 (facsimile)
                                                wendy@gba.law

                                                Counsel for Intervenor-Defendant
                                                National Republican Redistricting Trust
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                             CERTIFICATE OF SERVICE

I certify that on September 28, 2022, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system, which will send notification of such filing to all
counsel of record.

                                                 /s/ Wendy Padilla-Madden
                                                 Wendy Padilla-Madden
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                          EXHIBIT A
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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                             Jason Torchinsky
   was duly qualified and admitted on September 10, 2007 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                             In Testimony Whereof,
                                                                         I have hereunto subscribed my
                                                                        name and affixed the seal of this
                                                                               Court at the City of
                                                                     Washington, D.C., on September 28, 2022.




                                                                              JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                        Issued By:


                                                                           David Chu - Director, Membership
                                                                          District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
